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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7
      ADVANCED HAIR RESTORATION LLC,                  CASE NO. C23-1031-KKE
 8
                     Plaintiff(s),
          v.                                          ORDER ON STIPULATED MOTION TO
 9
                                                      EXTEND CASE SCHEDULE
      BOSLEY INC,
10
                            Defendant(s).
11

12
            This matter comes before the Court on the parties’ stipulated motion to extend the case
13
     schedule. Dkt. No. 26. The Court finds good cause to extend the case schedule and GRANTS the
14
     stipulated motion. Id. Accordingly, the Court ORDERS the case schedule be amended as follows:
15
                               Event                          Prior Deadline      New Deadline
16
        JURY TRIAL SET FOR 9:30 a.m. on                            3/3/24            6/2/2025
17
        Length of trial                                             8 days               8 days
18
        Deadline for filing amended pleadings                      4/1/24            6/3/2024
19      Disclosure of expert testimony under FRCP
        26(a)(2) due                                              8/5/2024          11/5/2024
20      Rebuttal expert witness disclosures
                                                                                    12/17/2024
21      All motions related to discovery must be filed by
                                                                                    12/18/2024

22      Discovery must be completed by                           10/4/2024          1/15/2025
        All dispositive motions and motions challenging
23      expert witness testimony must be filed by this date      11/4/2024          3/14/2025
        (see LCR 7(d)). Such motions must be noted for
24


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 1      consideration no later than the fourth Friday
        thereafter (see LCR 7(d)).
 2      Settlement conference, if mediation has been
        requested by the parties per LCR 39.1, held no later            1/2/2025              4/2/2025
 3      than
        All motions in limine must be filed by
                                                                       1/27/2025             4/28/2025
 4
        Proposed jury instructions and agreed LCR 16.1
        Pretrial Order due, including exhibit list with                2/10/2025             5/12/2025
 5
        completed authenticity, admissibility, and
 6      objections fields

        Trial briefs, proposed voir dire questions, and
 7                                                                     2/18/2025             5/19/2025
        deposition designations due
 8      Pretrial conference scheduled at 10:00 a.m. on
                                                                       2/21/2025             5/23/2025
 9
            All other dates are specified in the Local Civil Rules. The dates set forth in this order are
10
     firm dates that can be changed only by order of the Court, not by agreement of counsel for the
11
     parties. The Court will alter these dates only upon good cause shown. Failure to complete
12
     discovery within the time allowed is not recognized as good cause. If any of the dates identified
13
     in this Order or the Local Civil Rules fall on a weekend or federal holiday, the act or event shall
14
     be performed on the next business day.
15
            If the trial date assigned to this matter creates an irreconcilable conflict, counsel must notify
16
     Diyana Staples, Courtroom Deputy, at Diyana_Staples@wawd.uscourts.gov in writing within ten
17
     (10) days of the date of this Order and must set forth the exact nature of the conflict. A failure to
18
     do so will be deemed a waiver. Counsel must be prepared to begin trial on the date scheduled, but
19
     it should be understood that the trial may have to await the completion of other cases.
20
                                       CHAMBERS PROCEDURES
21
            A.      Communications With Chambers
22
            Parties should direct initial inquiries they have to courtroom deputy Diyana Staples at
23
     Diyana_Staples@wawd.uscourts.gov. Ex parte communications with chambers involving any
24


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 1   matter other than checking on a decision on a motion under LCR 7(b)(5) or settlement are strongly

 2   discouraged. For any other types of inquiries, all parties must be copied on the email when

 3   communicating with the courtroom deputy.

 4             B.      Courtesy Copies

 5             Courtesy copies are required for pleadings that in the aggregate (i.e., the brief plus any

 6   declarations or exhibits) are longer than 50 pages, trial exhibits, or upon Court request. If a party

 7   believes that courtesy copies may be helpful, such as for complex graphs or images best viewed in

 8   color, the party may submit a courtesy copy to chambers for the Court’s ease of reference. The

 9   courtesy copy must be the version of the document with the header generated by CM/ECF, as this

10   header includes important information (i.e., case number, document number, page number, date

11   filed, etc.). Courtesy copies shall be printed double-sided. Courtesy copies should be three-hole

12   punched, tabbed, and placed in a binder or otherwise bound.

13             C.      Cross-Motions

14             The Court encourages parties filing cross-motions to agree to an alternate briefing schedule

15   allowing for four briefs (one cross-motion, second cross-motion/opposition, opposition/reply, and

16   reply) rather than a full six briefs (motion, opposition, and reply for each cross-motion). If the

17   parties can reach an agreement on such a schedule and any necessary adjustments to the page/word

18   limits, they shall submit a stipulated motion and proposed order for the Court’s approval.

19             D.      In Camera Review

20             If the Court orders a party to submit documents for in camera review, the party shall email

21   an   electronic     copy   of   the   documents     to   courtroom    deputy    Diyana    Staples   at

22   Diyana_Staples@wawd.uscourts.gov.          The party shall also deliver a physical copy of the

23   documents to chambers, clearly marked for in camera review to avoid inadvertent filing on the

24   docket.


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 1          E.       Stipulated Extensions of Deadlines

 2          Please note the Court requires approximately 120 days between the deadline for filing

 3   dispositive motions and the trial date. Stipulated motions proposing a case schedule that does not

 4   comply with this requirement will be denied.

 5                           PROCEDURE FOR DISCOVERY DISPUTES

 6          As required by LCR 37(a), all discovery matters are to be resolved by agreement if

 7   possible. If agreement is not possible, prior to the filing of any discovery motions, the Court directs

 8   the parties to request a conference with the Court. See Fed. R. Civ. P. 16(b)(3)(B)(v). The movant

 9   must submit a joint statement to the Court briefly identifying the issue(s) in dispute. The joint

10   statement shall be no more than three pages and shall be filed via CM/ECF. Thereafter, the movant

11   should contact Diyana Staples at Diyana_Staples@wawd.uscourts.gov to schedule a conference.

12                                                EXHIBITS

13          Counsel are directed to cooperate in preparing the final pretrial order in the format required

14   by LCR 16.1, except as detailed below. The parties must deliver two copies of their respective

15   trial exhibits to Diyana Staples, Courtroom Deputy, seven days before the trial date. Each exhibit

16   shall be clearly marked. The Court hereby alters the LCR 16.1 procedure for numbering exhibits:

17   Plaintiff(s)’ exhibits shall be numbered consecutively beginning with 1; Defendant(s)’ exhibits

18   shall be numbered consecutively beginning with 500. Duplicate documents shall not be listed

19   twice. Once a party has identified an exhibit in the pretrial order, it may be used by any party.

20   Each set of exhibits shall be submitted in a three-ring binder with appropriately numbered tabs.

21          In addition, no later than seven days before the trial date, the parties should send an

22   electronic copy of all exhibits in .PDF format with Optical Character Recognition (“OCR”)

23   searchable text to Diyana Staples, Courtroom Deputy, at Diyana_Staples@wawd.uscourts.gov.

24   The parties should notify the Court of any physical objects or files that cannot be transmitted


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 1   electronically. Exhibits must be marked as described above, and the following protocols also

 2   apply: (1) Electronic exhibits must be transmitted individually (i.e., one exhibit per file), but

 3   exhibits may have multiple pages; (2) Exhibit file names should match the descriptions listed on

 4   the joint exhibit list as closely as possible except that file names should not exceed 80 characters,

 5   e.g., Ex. 1 − Accident Scene Photo; Ex. 501– Email dated 4−03−23.

 6                                                   PRIVACY

 7          Pursuant to LCR 5.2(a), parties shall refrain from including, or shall partially redact where

 8   inclusion is necessary, the following personal data identifiers from all documents filed with the

 9   Court or used as exhibits in any hearing or at trial, unless otherwise ordered by the Court:

10      •   Dates of Birth − redact to the year of birth, unless deceased.

11      •   Names of Minor Children − redact to the initials, unless deceased or currently over the

12          age of 18.

13      •   Social Security or Taxpayer Identification Numbers − redact in their entirety.

14      •   Financial Accounting Information − redact to the last four digits.

15      •   Passport Numbers and Driver License Numbers − redact in their entirety.

16          Parties in social security appeals and immigration cases shall comply with LCR 5.2(c).

17                                             SETTLEMENT

18          If    this   case   settles,   counsel    shall   notify   Diyana   Staples   via   email   at

19   Diyana_Staples@wawd.uscourts.gov as soon as possible. Pursuant to LCR 11(b), an attorney who

20   fails to give the courtroom deputy prompt notice of settlement may be subject to sanctions.

21          Dated this 20th day of February, 2024.

22

23                                                    A
                                                      Kymberly K. Evanson
24                                                    United States District Judge


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